Case 23-90886 Document 298-7 Filed in TXSB on 12/05/23 Page 1 of 3




                             Exhibit J

                   Schedule of Rejected Contracts
       Case 23-90886 Document 298-7 Filed in TXSB on 12/05/23 Page 2 of 3




                                                   Exhibit J

                                    Schedule of Rejected Contracts

         In accordance with Article VIII of the Amended Joint Prepackaged Chapter 11 Plan of Air
Methods Corporation and Its Affiliated Debtors (Docket No. 279) (as may be further amended,
supplemented, or otherwise modified from time to time in accordance with its terms, the “Plan”), 1
the Debtors hereby file this schedule of executory contracts and unexpired leases that the Debtors
intend to reject pursuant to the Plan (the “Schedule of Rejected Contracts,” and each agreement
listed therein, an “Agreement”).

       Parties to executory contracts or unexpired leases with the Debtors are advised to
carefully review the information contained herein and the related provisions of the Plan.

         Inclusion of an Agreement in the Schedule of Rejected Contracts is not an admission by
the Debtors that any of the Agreements listed therein are executory contracts or unexpired leases.
Subject to the terms of the Plan, the Debtors reserve the right to assert that any of the Agreements
listed in the Schedule of Rejected Contracts are not executory contracts or unexpired leases. As a
matter of administrative convenience, in certain cases the Debtors may have listed the original
parties to the Agreements listed in the Schedule of Rejected Contracts without taking into account
any succession of trustees or any other transfers or assignments from one party to another. The
fact that the current parties to any particular Agreements may not be named in the Schedule of
Rejected Contracts is not intended to change the treatment of such Agreements. References to any
Agreements to be rejected pursuant to the Plan are to the applicable Agreement and other operative
documents as of the date of the Plan Supplement, as they may have been amended, modified, or
supplemented from time to time and as may be further amended, modified, or supplemented by
the parties thereto between such date and the Plan Effective Date.

        Out of an abundance of caution, and for the avoidance of doubt, the Debtors may have
listed herein certain Agreements that have previously been rejected, and nothing herein is intended
to change or alter the date of rejection or the terms of rejection of any previously rejected
Agreement.

       The Debtors reserve all rights to amend, supplement, or otherwise modify
this Exhibit J to the Plan Supplement, and any of the designations contained herein, at any
time before the Plan Effective Date, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Plan.
                                 Case 23-90886 Document 298-7 Filed in TXSB on 12/05/23 Page 3 of 3



Air Methods
Schedule of Rejected Contracts




  Contract ID               Counterparty                     Debtor                                       Agreement

     5387         Carnegie San Bernadino LLC   Mercy Air Service, Inc.   Lease agreement, as amended August 31, 2022 through November 1, 2025

     14360        VP Wilson Properties, LLC    Air Methods Corporation   Lease agreement, dated as of February 10, 2022 through May 31, 2027
